       Case 7:24-cv-00132 Document 1 Filed on 03/28/24 in TXSD Page 1 of 16




                                UNITED STATES DISTRICT COURT
                             FOR THE SOUTHERN DISTRICT OF TEXAS
                                      MCALLEN DIVISION

LIZELLE GONZALEZ,                               §
     Plaintiff                                  §
                                                §
v.                                              §         CIVIL ACTION NO. ________________
                                                §
GOCHA ALLEN RAMIREZ,                            §                       JURY DEMANDED
ALEXANDRIA LYNN BARRERA,                        §
and STARR COUNTY,                               §
      Defendants

                                 PLAINTIFF’S ORIGINAL COMPLAINT

TO THE HONORABLE UNITED STATES DISTRICT COURT JUDGE:

         COMES NOW LIZELLE GONZALEZ, Plaintiff herein, by and through counsel, and

files this civil rights action against Gocha Allen Ramirez, Individually; Alexandria Lynn Barrera,

Individually; and Starr County, Texas and alleges as follows:

                                                    I.

                                     NATURE OF THE ACTION

1.1 Plaintiff brings forth causes of action pursuant to 42 U.S.C § 1983 for violations of the United

     States Constitution and the laws of the United States as a result of the unfounded and unlawful

     indictment presented against Plaintiff by the Starr County District Attorney and his office.

                                                    II.

                                              PARTIES

2.1 Plaintiff Lizelle Gonzalez, a/k/a Lizelle Herrera, Plaintiff’s legal name at the time of her arrest,

     is a resident of Starr County, Texas.




Plaintiff’s Original Complaint
       Case 7:24-cv-00132 Document 1 Filed on 03/28/24 in TXSD Page 2 of 16




2.2 Defendant Gocha Allen Ramirez is the elected District Attorney for Starr County, Texas.

    Ramirez is employed by the County of Starr as its elected district attorney who, at all times

    relevant to this action, was acting under the color of law and within the scope of his

    employment. Defendant Ramirez is the policy maker for the Starr County District Attorney’s

    Office. Defendant Ramirez is sued in his individual capacity. Defendant Ramirez may be

    served with summons as follows:

                                           886 Coyote Dr.
                                     Rio Grande City, Texas 78582

                                                    or

                                 229th Judicial District Attorney’s Office
                                         - Starr County Division
                                            401 N. Britton Ave.
                                      Rio Grande City, Texas 78582

                                     Or wherever he may be found


2.3 Defendant Alexandria Lynn Barrera is employed as an Assistant District Attorney for Starr

    County, Texas, who, at all times relevant to this action, was acting under the color of law and

    within the scope of her employment. Defendant Barrera is sued in her individual capacity.

    Defendant Barrera may be served with summons as follows:

                                       2286 Rio Concho Street
                                    Rio Grande City, Texas 78582

                                                    or

                                 229th Judicial District Attorney’s Office
                                         - Starr County Division
                                            401 N. Britton Ave.
                                      Rio Grande City, Texas 78582

                                     Or wherever she may be found




Plaintiff’s Original Complaint
       Case 7:24-cv-00132 Document 1 Filed on 03/28/24 in TXSD Page 3 of 16




2.4 Defendant Starr County, Texas, is a governmental unit existing under the laws of the State of

    Texas. Defendant Starr County may be served with summons upon County Judge, Eloy Vera

    on behalf of the Starr County Commissioners Court as follows:

                                 Starr County Judge Eloy Vera
                                        100 N. FM 3167
                                 Rio Grande City, Texas 78582

                                                III.

                                 JURISDICTION AND VENUE

3.1 This action is brought pursuant to 42 U.S.C. § 1983. The Court has jurisdiction over this

    lawsuit pursuant to 28 U.S.C § 1331 (federal question) and 28 U.S.C. § 1343 (civil rights).

3.2 Venue is proper in this Court under 28 U.S.C. § 1391(b), as the Southern District of Texas -

    McAllen Division is the judicial district in which a substantial part of the events or omissions

    giving rise to the claims occurred.

                                                IV.

                                  FACTUAL ALLEGATIONS

4.1 On January 7, 2022, at approximately 7:18p.m., Plaintiff Lizelle Gonzalez presented to the

    Starr County Memorial Hospital Emergency Department at 19 weeks gestational age “with

    abortion attempt” after using Cytotec Icetrogen 400 mcg purportedly to induce an abortion.

    Plaintiff was treated by Dr. Rodolfo Lozano, M.D. and Norma Aguirre RN. After obstetrical

    examination revealed no contractions and positive fetal heart rate, Plaintiff was discharged

    home on January 8, 2022, at 12:00 p.m. with a diagnosis of abdominal pain and instructions to

    follow up with Dr. Lozano on January 12, 2022.

4.2 Shortly after discharge, at approximately 12:40 p.m. on January 8, 2022, Plaintiff was taken to

    Starr County Memorial Hospital via EMS with complaints of abdominal pain and vaginal

    bleeding. Examination in the emergency department by revealed no fetal cardiac activity and

Plaintiff’s Original Complaint
       Case 7:24-cv-00132 Document 1 Filed on 03/28/24 in TXSD Page 4 of 16




    “incomplete spontaneous abortion.” Plaintiff was admitted to obstetrics for a repeat classical

    cesarean section by Dr. Luis Ramirez for the delivery of her stillborn child.

4.3 Based upon information and belief, between January 7, 2022, and March 30, 2022, employees,

    agents and/or representatives of Starr County Memorial Hospital, in violation of federal

    privacy laws reported Plaintiff’s self-induced abortion to the Starr County District Attorney’s

    Office.

4.4 Based upon information and belief, neither the Starr County Sheriff’s Office nor the Rio

    Grande City Police Department performed an investigation into the facts or circumstances

    surrounding the charge of Murder against Plaintiff. Rather, the Starr County District Attorney’s

    Office, by and through its assistant district attorney, Defendant Alexandria Lynn Barrera,

    initiated and performed its own investigation based on reports from hospital personnel.

4.5 Per District Attorney’s Office policy and practice, assistant district attorney, Defendant

    Alexandria Lynn Barrera, involved Defendant Gocha Allen Ramirez in the investigation. Based

    upon information and belief, Defendant Alexandria Lynn Barrera took this case to Defendant

    Gocha Allen Ramirez prior to the investigation and presentation of the case before the grand

    jury. Similarly, through its own policy-maker Defendant Gocha Allen Ramirez, the Starr

    County District Attorney’s Office had its own policy of initiating and performing its own

    investigations before involving the police.

4.6 Upon information and belief, District Attorney Gocha Allen Ramirez and Assistant District

    Attorney Alexandria Lynn Barrera made misrepresentations of the facts and the law to a grand

    jury, recklessly and callously disregarding the rights of Plaintiff, allowing a malicious

    prosecution to commence against her.

4.7 On March 30, 2022, the charge of murder against Plaintiff was presented to the Grand Jury of

    Starr County, Texas by Defendants Ramirez and Barrera.

Plaintiff’s Original Complaint
       Case 7:24-cv-00132 Document 1 Filed on 03/28/24 in TXSD Page 5 of 16




4.8 At Plaintiff’s grand jury presentation, Defendants Ramirez and Barrera, and other co-

    conspirators were aware that Section 19.06 of the Texas Penal Code exempted the death of an

    unborn child from the statute pertaining to murder “if the conduct charged is: (1) conduct

    committed by the mother of the unborn child.” However, Defendants Ramirez and Barrera

    proceeded to provide the grand jury with false and misleading information and omissions in

    order to secure an Indictment against Plaintiff that “on or about the 7th day of January 2022,

    and before the presentment of this indictment, in Starr County, Texas, did then and there

    intentionally and knowingly cause the death of an individual J.A.H. by a self-induced

    abortion.”

4.9 Had Defendants Ramirez and Barrera been truthful, there would not have been any legal basis

    for the indictment and ensuing arrest. Upon information and belief, Defendants Ramirez and

    Barrera, conspired to, and did, present false information and recklessly misrepresented facts in

    order to pursue murder charges against Plaintiff for acts clearly not criminal under the Texas

    Penal Code.

4.10     Following the indictment, Plaintiff was arrested on April 7, 2022, by the Starr County

    Sheriff’s Office. On April 8, 2022, the day after her arrest, Plaintiff was taken to Starr County

    Memorial Hospital while being incarcerated at the Starr County Jail. After spending three days

    in jail, Plaintiff was released on April 9, 2022, when Defendant Ramirez made the decision to

    dismiss the unfounded charges against her.

4.11     The fallout from Defendants’ illegal and unconstitutional actions has forever changed the

    Plaintiff’s life. In statements issued by Defendant Ramirez to the national press, he conceded

    that “’[a]lthough with this dismissal Ms. Herrera will not face prosecution for this incident, it

    is clear to me that the events leading up to this indictment have taken a toll on Ms. Herrera and

    her family.” Plaintiff’s mugshot was immediately plastered all over the news, through

Plaintiff’s Original Complaint
        Case 7:24-cv-00132 Document 1 Filed on 03/28/24 in TXSD Page 6 of 16




      television, print and social media. Within hours national headlines read “Woman in Texas

      Charged with Murder in Connection with ‘Self-Induced Abortion.’” Plaintiff was identified

      by name. The unfounded charges against Plaintiff gained the attention of the Associated Press,

      were televised nationally, and can still be found through numerous news sites on the internet.

      Furthermore, because the charges stemmed from abortion – a hot button political agenda – the

      dismissal of the charges did not result in any less media attention. Rather, the media attention

      was heightened after the dismissal due to the fact that the prosecution was frivolous.

4.12     On January 25, 2024, Defendant Ramirez agreed to an Agreed Judgement of Probated

      Suspension with the Investigatory Panel 12-2 District 12 due to his violations of 8.01(a),

      3.09(a), 5.01(a), and 5.01(b) of the Texas Disciplinary Rules of Professional Conduct for his

      knowing conduct in prosecuting Plaintiff for acts clearly not criminal under existing state law.

4.13     As a result of the Defendants’ unconstitutional actions, Plaintiff was subjected to the

      humiliation of a highly publicized indictment and arrest, which has permanently affected her

      standing in the community. But for Defendants’ conduct, Plaintiff would not have suffered

      these harms.

4.14     Lizelle Gonzalez is now filing this lawsuit against Gocha Allen Ramirez, Alexandria Lynn

      Barrera, and Starr County, for depriving Plaintiff of rights secured under the Constitution and

      Laws of the United States. She brings this case not only to vindicate her rights but also to hold

      accountable the government officials who violated them.

                                                   V.

                                    APPLICABLE AUTHORITY

5.1      The Fourth Amendment to the Constitution of the United States of America

provides:

         The right of the people to be secure in their persons, houses, papers, and effects,
         against unreasonable searches and seizures, shall not be violated, and no Warrants
Plaintiff’s Original Complaint
        Case 7:24-cv-00132 Document 1 Filed on 03/28/24 in TXSD Page 7 of 16




         shall issue, but upon probable cause, supported by Oath or affirmation, and
         particularly describing the place to be searched, and the persons or things to be
         seized.

5.2      The Fourteenth Amendment to the Constitution of the United States of America

provides, in pertinent part:


         All persons born or naturalized in the United States, and subject to the jurisdiction
         thereof, are citizens of the United States and of the State wherein they reside. No
         State shall make or enforce any law which shall abridge the privileges or
         immunities of citizens of the United States; nor shall any State deprive any person
         of life, liberty, or property, without due process of law; nor deny to any person
         within its jurisdiction the equal protection of the laws.

5.3      42 U.S. Code §1983 – Civil Action for Deprivation of Rights

         Every person who, under color of any statute, ordinance, regulation, custom,
         or usage, of any State or Territory or the District of Columbia, subjects, or
         causes to be subjected, any citizen of the United States or other person within
         the jurisdiction thereof to the deprivation of any rights, privileges, or
         immunities secured by the Constitution and laws, shall be liable to the party
         injured in an action at law, suit in equity, or other proper proceeding for
         redress, except that in any action brought against a judicial officer for an act
         or omission taken in such officer’s judicial capacity, injunctive relief shall
         not be granted unless a declaratory decree was violated or declaratory relief
         was unavailable. For the purposes of this section, any Act
         of Congress applicable exclusively to the District of Columbia shall be
         considered to be a statute of the District of Columbia.

5.4      Section 19.01 of the Texas Penal Code provided in pertinent part:

         (a)     A person commits criminal homicide if he intentionally, knowingly,
         recklessly, or with criminal negligence causes the death of an individual.
         (b)    Criminal homicide is murder, capital murder, manslaughter, or criminally
         negligent homicide.

5.5      Section 19.06 of the Texas Penal Code plainly states:

         This chapter does not apply to the death of an unborn child if the conduct charged
         is:

      (1) Conduct committed by a mother of the unborn child;




Plaintiff’s Original Complaint
       Case 7:24-cv-00132 Document 1 Filed on 03/28/24 in TXSD Page 8 of 16




                                                  VI.

                         PROSECUTORIAL IMMUNITY DOES NOT APPLY


6.1 Prosecutors are usually absolutely immune from civil liability. Under Buckley v. Fitzsimmons,

     509 U.S. 259, 273, 113 S.Ct. 2606, 125 L.Ed.2d 209 (1993), prosecutors are not immune when

     performing “administrative duties and . . . investigatory functions that do not relate to an

     advocate's preparation for the initiation of a prosecution or for judicial proceedings.”

6.2 Prosecutors are absolutely immune only “for their conduct in ‘initiating a prosecution and in

     presenting the State's case’ insofar as that conduct is ‘intimately associated with the judicial

     phase of the criminal process.’” Burns v. Reed, 500 U.S. 478, 486, 111 S.Ct. 1934, 114 L.Ed.2d

     547 (1991) (citations omitted) (quoting Imbler v. Pachtman, 424 U.S. 409, 430-31, 96 S.Ct.

     984, 47 L.Ed.2d 128 (1976)).

 6.3 “In sum, prosecutors are not entitled to absolute immunity when “‘functioning as the

     equivalent of a detective rather than as an advocate preparing for trial.’” Wooten v. Roach, 964

     F.3d 395, 407 (5th Cir. 2020) (quoting Cousin v. Small, 325 F.3d 627, 632–33 (5th Cir. 2003)

     (per curiam).

 6.4 Relevant here, based upon information and belief, neither the Starr County Sheriff’s

     Department nor the Rio Grande City Police Department were involved in the investigation

     phase of the charges against the Plaintiff. Rather, the District Attorney’s Office solely

     conducted the investigation directly with the Starr County Memorial Hospital prior to

     indictment.       Such investigatory actions forfeit the protection of absolute prosecutorial

     immunity. See Burns, 500 U.S. at 482, 111 S.Ct. 1934.

 6.5 Additionally, a district attorney who misleads or conspires to mislead a grand jury in the same

     way as a constitutionally defective warrant affidavit also waives immunity. Wilson v. Stroman,

     33 F.4th 202 (5th Cir. 2022).

Plaintiff’s Original Complaint
       Case 7:24-cv-00132 Document 1 Filed on 03/28/24 in TXSD Page 9 of 16




 6.6 Section 19.06 of the Texas Penal Code exempts the death of an unborn child from the statute

     pertaining to murder “if the conduct charged is: (1) conduct committed by the mother of the

     unborn child.” Based upon information and belief, Defendants Ramirez and Barrera provided

     the grand jury with false and misleading information and omissions in order to secure an

     indictment against Plaintiff.

 6.7 As such, Defendants Ramirez and Barrera are not entitled to qualified immunity because they

     either submitted or directed the presentation of grand jury “evidence” blatantly lacking in

     legal basis as to render their belief in its existence unreasonable. See Malley, 475 U.S at 345.

     No reasonable grand juror could have reasonably believed the law was otherwise due to

     Defendants’ unlawful actions.

                                                VII.

                                     CLAIMS FOR RELIEF

    A. 42 U.S.C. § 1983 – Violations of Plaintiff’s Rights Guaranteed by the Fourteenth
       Amendment

  7.1 Plaintiff incorporates all preceding paragraphs by reference.

  7.2 Plaintiff asserts a violation of her Due Process rights under the Fourteenth Amendment to be

       free from unlawful indictment.

  7.3 The Due Process Clause of the Fourteenth Amendment was intended to prevent the

       government from abusing its power or employing it as an instrument of oppression. Plaintiff

       has rights guaranteed by the Fourteenth Amendment not to have law enforcement

       deliberately fabricate facts and evidence. More specifically, Plaintiff has rights against

       intentional misrepresentations made to a grand jury that self-induced abortion is a criminal

       act in the State of Texas to secure an unlawful indictment.

  7.4 Upon information and belief, Defendants Ramirez and Barrera conspired to, and did,

       mislead the grand jury by failing to provide the statutory language contained within Section
Plaintiff’s Original Complaint
      Case 7:24-cv-00132 Document 1 Filed on 03/28/24 in TXSD Page 10 of 16




       19.06 of the Texas Penal Code, in order to secure an illegal indictment in violation of

       Plaintiff’s constitutional protections.

  7.5 Policy, procedure, and practice in the Starr County District Attorney’s Office require that

       every decision in every high-profile case, including the investigation phase, must go through

       Defendant Ramirez. There is no doubt that the first ever murder charge for a self-induced

       abortion in Starr County is considered high-profile, especially in light of the media attention

       surrounding the State’s abortion laws at the time of the events giving rise to Plaintiff’s causes

       of action.

  7.6 In his defense during his disciplinary proceedings Defendant Ramirez claimed not to be

       involved in the investigation or prosecution of this case. Defendant Ramirez acted as though

       he delegated authority to his co-conspirator Assistant District Attorney, Defendant Barrera.

       However, Defendant Ramirez did not and does not delegate his authority based on his

       policies, procedures, and practices.

  7.7 Furthermore, although he claimed he did not participate in the grand jury presentation of

       Plaintiff’s case, upon information and belief, Defendant Ramirez directed his co-conspirator,

       Assistant District Attorney Defendant Barrera, to provide false information to and conceal

       the plain statutory language contained within Texas Penal Code 19.06 from the grand jury.

       Defendant Barrera dutifully complied.

  7.8 By failing to provide the statutory language contained within Section 19.06 of the Texas

       Penal Code, District Attorney Ramirez himself, or through instruction to co-conspirator

       Defendant Barrera, knowingly provided false information to a grand jury to secure an unjust

       indictment and proceed with the malicious prosecution against Plaintiff.

  7.9 As a result of her indictment and subsequent unlawful arrest for charges that Defendants

       maintained against her—long after they were aware that they lacked any legal or statutory

       basis to charge and arrest Plaintiff for Murder— Plaintiff was deprived of her right to privacy.
Plaintiff’s Original Complaint
      Case 7:24-cv-00132 Document 1 Filed on 03/28/24 in TXSD Page 11 of 16




       More specifically, Plaintiff was involuntarily and detrimentally thrust into the public eye,

       causing intrusion upon her seclusion or solitude and private affairs.

  Additionally, Plaintiff was placed in a false light which caused her to suffer reputational and

       actual harm that impinged upon her fundamental right to personal liberty.


  B. False Arrest in Violation of The Fourth And Fourteenth Amendments

  7.10 Plaintiff incorporates the preceding paragraphs herein by reference.

  7.11 Plaintiff has a clearly established constitutional right under the Fourth Amendment to be

       secure in her person, home, and property against unreasonable seizure. U.S. Const. amend.

       IV (emphasis added). As the Supreme Court of the United States has plainly stated, “[w]here

       the standard is probable cause, a . . . seizure of a person must be supported by probable cause

       particularized with respect to that person.” Ybarra v. Illinois, 444 U.S. 85, 91 (1979).

  7.12 The Fourteenth Amendment also protects against the deprivation of liberty without due

       process of law.

  7.13 Plaintiff was falsely charged, indicted, and arrested for murder, despite the plain and

       concise language of the statute excluding Plaintiff from criminal responsibility as a direct

       result of Defendant Ramirez’s and Defendant Barrera’s conduct. Defendants’ conduct, as set

       forth in detail above, deprived Plaintiff of her rights to be secure in her persons against

       unreasonable seizure, in violation of the Fourth Amendment of the Constitution of the United

       States and 42 U.S.C. Section 1983.

  7.14 Defendants Ramirez and Barrera, while acting under the color of law and within the scope

       of their employment, knowingly and intentionally, or with reckless disregard for the truth,

       caused the presentation of a facially deficient indictment with no legal basis.




Plaintiff’s Original Complaint
      Case 7:24-cv-00132 Document 1 Filed on 03/28/24 in TXSD Page 12 of 16




  7.15 Defendants Ramirez and Barrera deliberately or recklessly made knowing and intentional

       omissions that resulted in the indictment of Plaintiff and subsequent warrant for Plaintiff’s

       arrest being issued.

  7.16 Each Defendant, jointly, severally, or both, deprived Plaintiff of her rights under the Fourth

       Amendment as incorporated and applied to the states through the Fourteenth Amendment.

       Each Defendant also jointly, severally, or both, deprived Plaintiff of due process in violation

       of the Fourteenth Amendment. Furthermore, Defendants Ramirez and Barrera conspired with

       coconspirators, known and unknown, to violate Plaintiff’s constitutional rights.

  7.17 Pursuant to 42 U.S.C. § 1983, every person who, under color of any statute, ordinance,

       regulation, custom or usage of any State, subjects, or causes to be subjected, any citizen of

       the United States to the deprivation of any rights, privileges, or immunities secured by the

       Constitution and laws, shall be liable to the parties injured in an action for redress. Each

       Defendant is a “person” within the meaning of 42 U.S.C. § 1983.

  7.18 As a direct result of Defendants’ conduct, Plaintiff was charged with murder and falsely

       arrested, despite the absence of probable cause to establish that she had committed a crime.

       Defendants’ conduct, as described above, deprived Plaintiff of her right to be secure in her

       persons against unreasonable seizure, in violation of the Fourth Amendment of the

       Constitution of the United States and 42 U.S.C. § 1983. As such, pursuant to 42 U.S.C. §

       1983, Defendants Ramirez and Barrera shall be liable to Plaintiff for their unlawful actions.

  C. Conspiracy To Violate Constitutional Rights

  7.19 Plaintiff incorporates the preceding paragraphs herein by reference.

  7.20 Defendant Ramirez and at least one other co-conspirator, Defendant Barrera, agreed to

       violate Starr County residents’, including Plaintiff’s, civil rights in violation of Section 1983,

       as detailed in the preceding causes of action.


Plaintiff’s Original Complaint
      Case 7:24-cv-00132 Document 1 Filed on 03/28/24 in TXSD Page 13 of 16




  7.21 Specifically, Defendant Ramirez and his co-conspirator assistant district attorney

       Defendant Barrera agreed to violate Starr County residents’ (including Plaintiff’s):

  •    Fourth Amendment Rights to be free from unreasonable searches, seizures, and arrests but
       for warrants based on probable cause untainted by misleading and false information;

  •    Fourteenth Amendment Rights to Due Process by abusing his grand jury powers and
       presenting false and misleading information to the grand jury in order to secure indictments
       against citizens when probable cause did not exist.

  7.22 Defendant Ramirez knew the unlawful purpose of the agreement and joined in it willfully,

       that is, with the intent to further the unlawful purpose.

  7.23 Defendant Ramirez and/or at least one of the co-conspirators during the existence of the

       conspiracy knowingly committed at least one of the overt acts described in the counts above,

       in order to accomplish some object or purpose of the conspiracy.

  D. 42 U.S.C. § 1983 – County Liability

  7.24 Plaintiff incorporates the preceding paragraphs herein by reference.

  7.25 A county is liable under section 1983 for the acts of its officials when (1) its final
       policymakers are held effectively to have made policy or condoned creation of a custom by
       ratifying the unconstitutional or illegal actions of subordinate officers or employees; or (2)
       its final policymakers themselves engage in the setting of goals and the determination of how
       those goals will be achieved. See Turner v. Upton Cnty., Tex., 915 F.2d 133, 136 (5th Cir.
       1990). Pembaur v. City of Cincinnati, 475 U.S. 469, 106 S.Ct. 1292, 89 L.Ed.2d 452 (1986).

  7.26 “When the official representing the ultimate repository of law enforcement power in the

       county makes a deliberate decision to abuse that power to the detriment of its citizens, county

       liability under section 1983 must attach . . . .” Turner. at 138.

  7.27 Starr County is liable under both formulations.

  7.28 First, as explained above, Defendant Ramirez, as the final policy maker, “ratified the

       unconstitutional or illegal actions of subordinate officers and employees”, namely Defendant

       Barrera.

Plaintiff’s Original Complaint
      Case 7:24-cv-00132 Document 1 Filed on 03/28/24 in TXSD Page 14 of 16




  7.29 Although he did not present the indictment to the Grand Jury, all decisions ran through

       Defendant Ramirez. Upon information and belief, he conspired and instructed co-conspirator

       Assistant District Attorney Defendant Barrera to mislead the grand jury.

  7.30 Defendant Ramirez also ordered the arrest of the Plaintiff, despite his knowledge that there

       was no legal basis to charge her with murder or any offense, and/or with deliberate

       indifference to the absence of such probable cause.

  7.31 As such, Starr County is liable for Plaintiff’s constitutional wrongs suffered as the

       individual Defendant Ramirez is the policymaker for his respective governmental employer.

                                                    VIII.

                                             DAMAGES

    8.1 Defendants’ actions, both jointly and severally, deprived Plaintiff of her protected rights

         under the United States Constitution and federal law. As a proximate result of Defendants’

         actions, Plaintiff has suffered the deprivation of liberty, reputational harm, public

         humiliation, distress, pain, and suffering for which she is entitled to compensatory

         damages, including damages for mental and emotional distress.

    8.2 As a result of Defendants’ actions and/or inactions, Plaintiff seeks the following damages,

         which in the aggregate exceed $1,000,000.00:

         •    Actual damages;

         •    Compensatory damages;

         •    Past and future mental anguish;

         •    Past and future reputational damages;

         •    Past and future lost wages;

         •    Past and future loss of earning capacity;

         •    Attorney’s fees as set forth below;

Plaintiff’s Original Complaint
      Case 7:24-cv-00132 Document 1 Filed on 03/28/24 in TXSD Page 15 of 16




         •    Exemplary damages; and

         •    All other damages, both general and special, at law and in equity, to which Plaintiff

              may be justly entitled.

                                                  IX.

                                        PUNITIVE DAMAGES

    9.1 Plaintiff incorporates the preceding paragraphs by reference.

    9.2 Punitive damages may be awarded in Section 1983 cases when the defendant’s conduct

          involves reckless or callous indifference to the federally protected rights of others. The

          widespread and persistent practice of Defendants Starr County, Defendant District

          Attorney Gocha Allen Ramirez and Defendant Alexandria Lynn Barrera to intentionally

          misrepresent evidence to a grand jury demonstrates a callous and reckless disregard to the

          constitutional rights of residents of Starr County, Texas.

    9.3 Defendants Ramirez and Barrera acted with malice and with intentional disregard for

          Plaintiff’s constitutional rights for which Plaintiff is entitled to punitive damages. Such

          damages would assist in deterring and preventing similar conduct in the future.

                                                  X.

                                        ATTORNEY’S FEES

    10.1 Plaintiff has retained the services of the undersigned counsel, and claims entitlement to

             an award of reasonable and necessary attorney's fees under 42 U.S.C. § 1983 and § 1988.

                                                  XI.

                                          JURY DEMAND

     11.1 Plaintiff hereby requests a jury trial tenders the appropriate jury fee herewith.




Plaintiff’s Original Complaint
      Case 7:24-cv-00132 Document 1 Filed on 03/28/24 in TXSD Page 16 of 16




                                           PRAYER

         WHEREFORE PREMISES CONSIDERED, Plaintiff respectfully prays that Defendants

be cited to appear and answer herein, that upon the trial of this matter, judgment be entered for

Plaintiff against Defendants jointly and severally for the damages described above.


                                                     Respectfully submitted,


                                                     By:________________________
                                                     I. Cecilia Garza
                                                     State Bar No. 24041627
                                                     Federal Admission No.: 578825
                                                     202 E. Sprague Street
                                                     Edinburg, Texas 78539
                                                     Telephone No.: 956/335-4900
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                                                     ATTORNEY         IN    CHARGE         FOR
                                                     PLAINTIFFS


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Plaintiff’s Original Complaint
